    Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 1 of 10




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


THE UNITED STATES OF AMERICA,
                                               Criminal Action No.
       v.                                      1:23-CR-047-MHC

KRISTOPHER KNEUBUHLER,


       REPLY IN SUPPORT OF GOVERNMENT’S APPLICATION
   FOR AMENDED WRIT OF EXECUTION, TO APPOINT SUBSTITUTE
    CUSTODIAN IN AID OF EXECUTION, AND TO AUTHORIZE THE
   COMMERCIALLY REASONABLE SALE OF PERSONAL PROPERTY

      The United States of America through the United States Attorney for the

Northern District of Georgia and the undersigned Assistant United States

Attorney states as follows in support of the amended application for a writ of

execution and accompanying order in aid of execution:


      Kristopher Kneubuhler (the “Defendant”) was sentenced on April 9, 2024,

to a term of imprisonment of 57 months. Additionally, the Court imposed a

$100.00 special assessment, $5,000.00 JVTA assessment, $10,000.00 assessment and

$20,500.00 for restitution. The criminal judgment set forth the criminal monetary

penalties and expressly provided that “all criminal penalties shall be due

immediately”:
     Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 2 of 10




Doc. 72.


      A judgment for criminal penalties, including restitution, is subject to

enforcement (including execution) by the United States pursuant to 18 U.S.C. §§

3613 and 3572, the Federal Debt Collection Procedures Act (FDCPA), 28 U.S.C. §§

3001, et seq., and Rule 69, Federal Rules of Civil Procedure.


      On April 12, 2024, the Government filed an ex parte application for a writ of

execution. Following issuance of the writ of execution, the Defendant filed a

response (the “Preliminary Objection”). The Preliminary Objection presents six

arguments, each without merit. For the reasons discussed below, the

Government’s Application for an Amended Writ of Execution and order in aid of

execution should be granted, and the requested order entered without delay.




                                         2
     Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 3 of 10




      I.    Defendant is not Entitled to Advance Notice of a Writ of Execution.


      Defendant protests that the Government’s application for a writ of execution

was a surprise and defense counsel was not served until April 16, 2024. Despite

counsel’s protestations of surprise, the FDCPA provides for ex parte applications

for writs of garnishment, writs of execution, and other collection remedies, with

notice required only after the writ has attached to and frozen the targeted asset.

See 28 U.S.C. § 3004(c). The FDCPA applies to the collection of criminal monetary

penalties and thus supports the conclusion that the Government need not notify

Defendant or his counsel before encumbering assets for this purpose. 18 U.S.C. §§

3613(a), 3664(m). If Defendant and similarly situated defendants were entitled to

advance notice, they may take action to hinder or delay the Government’s

collection activity, thereby needlessly multiplying the proceedings before the

Court.


      II.    The Pinball Machines are Properly Subject of a Writ of Execution.

      As indicated in the Government’s application for the writ of execution, as

amended, the Defendant repeatedly testified during his March 5, 2024 financial

deposition that the pinball machines belonged to him personally and were

considered assets of him and his household. At no point did Defendant identify

the pinball machines as assets of Defendant’s home automation business nor

explain how the nineteen pinball machines relate to the operation of an

                                        3
     Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 4 of 10




automation business. In the Preliminary Objection, Defendant has presented no

support for the conclusion that the pinball machines should be considered

anything other than personal assets available to satisfy the outstanding criminal

monetary penalties. As Defendant specifically identified the pinball machines as

assets available to satisfy criminal monetary penalties in this action, they are

properly subject of the present writ of execution.

      III.   Defendant Lacks the Ability to Direct the Application of the
             Proceeds of the Government’s Collection Action.

      Defendant suggests, without citation to authority, that the proceeds from

the sale of the pinball machines should be applied only to his outstanding

restitution obligation. This argument is in plain derogation of the language of 18

U.S.C. § 3612(c), which sets forth the priority of application of payments:

      (c) Responsibility for collection.--The Attorney General shall be
      responsible for collection of an unpaid fine or restitution concerning which
      a certification has been issued as provided in subsection (b). An order of
      restitution, pursuant to section 3556, does not create any right of action
      against the United States by the person to whom restitution is ordered to be
      paid. Any money received from a defendant shall be disbursed so that each
      of the following obligations is paid in full in the following sequence:
             (1) A penalty assessment under section 3013 of title 18, United States
             Code.
             (2) Restitution of all victims.
             (3) All other fines, penalties, costs, and other payments required
             under the sentence.

There is no basis to deviate from the statutory scheme and the order of application

of payments to the imposed criminal monetary penalties. The Court should reject


                                         4
     Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 5 of 10




Defendant’s argument and permit the Clerk of Court to apply payments consistent

with established law.

       IV.    An Installment Payment Schedule does not Preclude Collection
              under 18 U.S.C. § 3613.

       Defendant appears to suggest that the execution sale of the pinball machines

is improper because his judgment included an installment payment schedule.

Defendant’s suggestion conflicts with 18 U.S.C. § 3612(c) because court-ordered

installment payments place an obligation on the defendant to pay, but that order

does not meet the United States’ obligation to enforce criminal penalties. Pursuant

to 18 U.S.C. § 3612(c), the Attorney General is responsible for aggressively

enforcing the monetary portion of criminal judgments to ensure that the rights of

victims are protected. The Government’s obligation to collect is logically

independent of the Defendant’s obligation to pay. Although Defendant may

ultimately meet the affirmative obligation under the judgment to make regular

installment payments, nothing in the judgment relieves the Government of its

obligation to immediately collect on the criminal monetary penalties imposed by

the Court. Under section 3613, enforcement begins immediately when “on the

entry of judgment” a lien arises on all of a defendant’s property and rights to

property, and there is no legal authority limiting the Government’s responsibility

and ability to enforce that lien to collect the outstanding criminal penalties. See 18

U.S.C. § 3613 (a), (c), and (f).
                                          5
     Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 6 of 10




      The overwhelming majority of courts that have considered the issue have

similarly rejected Defendant’s argument and held that a court-imposed

installment plan does not preclude the United States from immediately collecting

restitution from non-exempt assets. See e.g., Stacy v. United States, No. 22-2003, 2023

WL 3773895, at *5 (7th Cir. June 2, 2023) (installments are the least that the

Defendant must voluntarily pay; not the maximum that the Government may

forcibly collect); United States v. O’Brien, 851 F. App’x 236, 240 (2d Cir.

2021)(installment payment plan in the criminal judgment did not preclude the

government from seeking a lump sum garnishment of entire cash surrender value

of two retirement accounts); United States v. Wykoff, 839 F.3d 581 (7th Cir. 2016)

(rejecting defendant’s argument that installment payments precluded the

Government’s garnishment noting, “[i]f the restitution debt exceeds a felon’s

wealth, then the Mandatory Victim Restitution Act . . . demands that his wealth be

paid over immediately.”) (quoting United States v. Sawyer, 521 F.3d 792, 795 (7th

Cir. 2008)); United States v. Behrens, 656 F. App’x 789, 790 (8th Cir. 2016) (payment

schedule did not preclude garnishment because the judgment specified that

restitution was due and payable in full immediately); United States v. Shusterman,

331 F. App’x 994 (3d Cir. 2009) (district court did not err in allowing garnishment

as an additional means to collect restitution judgment where restitution due

immediately and setting monthly installments while on supervised release);


                                          6
     Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 7 of 10




United States v. Ekong, 518 F.3d 285 (5th Cir. 2007) (payment schedule does not

preclude government from enforcing restitution order through other means).

Neither the installment payment provisions, nor any other part of the criminal

judgment limit the Government’s collection efforts as to the imposed criminal

monetary penalties in this case.

      V.     The Court should not Impose Liability for “Any Damage” to the
             Pinball Machines as Suggested by Defendant.

      In the Preliminary Objection, Defendant suggest that “the moving and

selling company should be liable for any damage to the pinball machines” despite

the fact that neither the U.S. Marshals Service nor the proposed substitute

custodian have had any opportunity to inspect the machines, Defendant has

provided no warranty or representation as to the current state of the pinball

machines. Under the circumstances, the Court should not impose liability upon

the U.S. Marshals Service, the proposed substitute custodian, or agent while

carrying out their duties in good faith and in accordance with a lawful order,

particularly as they lack knowledge of the current state of pinball machines.

      VI.    There is no Basis to Stay Enforcement of the Imposed Criminal
             Monetary Penalties, Absent Posting Full Bond by Defendant.

      Rule 38(c), Federal Rules of Criminal Procedure, and 18 U.S.C. § 3572(g),

generally control a district court’s exercise of discretion in determining whether to

grant a stay of execution on a criminal judgment. Neither apply here, however,


                                         7
        Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 8 of 10




because the criminal judgment and restitution order are final and are not on

appeal. Accordingly, no further analysis is required, and Defendant’s de facto and

procedurally improper request to delay the writ of execution and attendant order

is without merit and should be rejected. Even if an appeal from the criminal

judgment were pending (and it is not), and a discretionary stay was otherwise

deemed appropriate, the Court is authorized to require a defendant to:

         (1) deposit all or part of the fine and costs into the district court’s registry

pending appeal;

         (2) post a bond to pay the fine and costs; or

         (3) submit to an examination concerning the defendant’s assets and, if

appropriate, order the defendant to refrain from dissipating any assets.

Fed. R. Crim. P. 38(c). Accordingly, were the Court to entertain such a stay, (and

it should not for the reasons discussed in this response), Defendant should first be

required to post a bond in the full amount of the outstanding criminal monetary

penalties, to be forfeited in the event he loses his appeal1. Otherwise, the

Government’s interests, and those of his victims, are unprotected. Accordingly, a

discretionary stay should not be issued. The Defendant has the statutory right to

assert any valid exemption or raise any valid objections pursuant to 28 U.S.C. §

3202(d) but he does not have, and should not be granted, additional authorization


1
    As of April 24, 2024, the outstanding balance is $35,500.00.
                                             8
     Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 9 of 10




to circumscribe the Government’s ability to enforce this Court’s criminal

judgment.

      WHEREFORE, the Government respectfully requests that the Court issue

an Order and Amended Writ of Execution (1) authorizing and directing the USMS

to levy on, secure, inspect, inventory, and photograph the nineteen (19) pinball

machines located at 300 Anchorage Place, Roswell, GA 30076 and deliver the

pinball machines to Bullseye Auction & Appraisal; (2) appointing Bullseye

Auction & Appraisal as a substitute custodian for the USMS with respect to the

pinball machines until such time a sale of the pinball machines may be effected;

(3) providing that Bullseye Auction & Appraisal shall not have any liability arising

from the transportation, storage, preservation, or condition of the pinball

machines during the term of its custodianship and it shall make no guaranty or

warranty as to same; (4) upon levy, authorizing and directing Bullseye Auction &

Appraisal to sell the pinball machines by auction in accordance with 28 U.S.C. §

3203(c) and (d); (5) authorizing the deduction from the proceeds of the sale all costs

of this action, including (i) any transportation and storage expenses, (ii) reasonable

expenses incurred in making the levy of execution, maintaining and selling the

pinball machines, pursuant to 28 U.S.C. § 3203(h), as well as (iii) sales commission

and costs; and (6) entering any further relief the Court deems just and proper.




                                          9
    Case 1:23-cr-00047-MHC-JEM Document 79 Filed 04/24/24 Page 10 of 10




     Respectfully submitted this 24th day of April 2024,

                                    RYAN K. BUCHANAN
                                    UNITED STATES ATTORNEY


                                       /s/ Vivieon K. Jones
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                     CERTIFICATE OF COMPLIANCE


     I hereby certify, pursuant to Local Rules 5.1B and 7.1D, that the foregoing

was typed using 13-point Book Antiqua font.



                                       /s/ Vivieon K. Jones
                                    VIVIEON K. JONES
                                    Assistant United States Attorney




                                      10
